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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


NATHANIEL HUNTER, ​individually and on         CIVIL ACTION NO.: 1:20-cv-012819
behalf of those similarly situated,

               Plaintiff,

       v.

LASMILE LOGISTICS, LLC, ​et al.

               Defendants.


           NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDIC,
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)
       PLEASE TAKE NOTICE that Plaintiff Nathaniel Hunter, by and through the

undersigned counsel, hereby voluntarily dismisses the above-captioned action without prejudice

against all Defendants.




                                                  SWARTZ SWIDLER, LLC

                                                  By: _​/s/ Manali Arora
                                                         Manali Arora, Esq.
                                                         Attorneys for Plaintiff

Dated: November 18, 2020
